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                     Exhibit A
                                                                                                 Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
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                                                                           2122-CC08817

                       IN THE CIRCUIT COURT OF ST. LOUIS CITY
                                 STATE OF MISSOURI

ELLIOT WINTER,                                    )
                                                  )
and,                                              )
                                                  )
ALEXANDRIA HURLBURT,                              )
                                                  )
         Plaintiffs,                              )
                                                  )      Cause No.:
v.                                                )
                                                  )      Division:
FACEBOOK, INC.,                                   )
     Serve Registered Agent:                      )
     CSC-Lawyers Incorporating Service Co.        )
     221 Bolivar Street                           )
     Jefferson City, Missouri 65101               )
                                                  )
and,                                              )
                                                  )
TIKTOK INC., TIKTOK PTE. LTD.,                    )
BYTEDANCE LTD., and BYTEDANCE INC.,               )               )
     Serve Registered Agent:                      )      DEMAND FOR JURY TRIAL
     Corporation Service Company                  )
     251 Little Falls Drive                       )
     Wilmington, Delaware 19808                   )
                                                  )
and,                                              )
                                                  )
MONICA DOLAN,                                     )
     Serve Party at:                              )
     15914 44th W. Ave.                           )
     Apt. D102                                    )
     Lynnwood, WA 98087                           )
                                                  )
         Defendants.                              )

                               PETITION FOR DAMAGES

         COMES NOW, Plaintiffs, Elliot Winter (hereinafter “Mr. Winter”), and Alexandria

Hurlburt (hereinafter "Ms. Hurlburt") by and through counsel, Derek R. Haake, and for their

Petition for Damages against Defendants, Facebook, Inc. (hereinafter “Facebook”), TikTok Inc.,
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TikTok Pte. Ltd.,ByteDance, Ltd., and ByteDance, Inc., (hereinafter “TikTok”), and Monica

Dolan (hereinafter “Ms. Dolan”) and states to the Court as follows:

                         PARTIES, JURISDICTION, AND VENUE

           1) Plaintiffs, Mr. Winter and Ms. Hurlburt, at all times relevant herein, are residents

   of the City of St. Louis, State of Missouri.

           2) Defendant, Facebook, at all times relevant herein, is a foreign corporation

   licensed to do business in the State of Missouri, incorporated within the State of Delaware

   with its principal place of business located at 1601 Willow Road, Menlo Park, California

   94025 and does normal business in the State of Missouri with continual contacts within the

   jurisdiction of St. Louis City, Missouri.

           3) Defendant, TikTok, at all times relevant herein, is a foreign corporation not

   licensed to do business in the State of Missouri, incorporated within the State of Delaware

   with its principal place of business located at Room 501, 5th Floor, Xinaote Science and

   Technology Building, 131 West Fourth Ring North Road, Haidian District, Beijing, People’s

   Republic of China 100086, and does normal business in the State of Missouri with continual

   contacts within the jurisdiction of St. Louis City, Missouri.

           4) Defendant, Ms. Dolan, is a currently resident of the Snohomish County, State of

   Washington.

           5) Jurisdiction and venue are proper in this Court because the causes of action

   asserted herein accrued in St. Louis City, Missouri, where the Defendants have continual

   contacts or have committed tortious acts within the State of Missouri; pursuant to Missouri

   Revised Statutes § 508.010 and § 506.500.1(3), respectively.
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                    FACTUAL ALLEGATIONS TO ALL COUNTS

        6) On or about October 1 2020, Ms. Dolan and her group of other social media

 influencers, personalities, or other similarly situated individuals (hereinafter “Influences”)

 began defaming Plaintiffs on social media.

        7) Ms. Dolan directly or indirectly and her Influencers posted private, intimate

 details of Plaintiffs on social media, including personal sexual habits, Plaintiff’s addresses,

 phone numbers and other personal information about Plaintiffs at this time.

        8) Ms. Dolan or her Influencers did not have authorization to post Plaintiffs personal

 and otherwise confidential information at this time on social media.

        9) Ms. Dolan and her Influencers further engaged in a pattern of behavior that

 resulted in the harassment of the Plaintiffs on her social media accounts beginning in March

 of 2021.

        10) Ms. Dolan further left her residence in Washington and as of the date of the filing

 of this Petition is presently residing in the State of Missouri for the sole purpose to harass,

 chastise and engage in other illegal conduct to damage Plaintiff in this lawsuit.

        11) Ms. Dolan directly, or through influence of others defaced the entire block of

 1600 locust including the Plaintiffs apartment building, the St Louis Film Library, Sidewalk,

 Parking Meters, Street Signs, Dumpsters and more with false and/or threatening messages

        12) Ms. Dolan and her Influencers directly conspired to create a false narrative in an

 effort to defame, harass, emotionally torment, and affect the business/health of the plaintiffs

        13) Ms. Dolan and her Influencers on more than one occasion incited and/or

 suggested violent action be taken against Plaintiffs
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         14) Ms. Dolan and her Influencers directly or indirectly harassed the plaintiffs, their

 family members, supporters and friends in and order to further cause harm to plaintiffs and/or

 silence those who countered her and group's false statements

         15) Ms. Dolan directly resulted in Mr. Winter's termination from his employer and

 subsequently the loss of the plaintiffs health insurance

         16) Ms. Dolan and her Influencers directly affected two businesses owned by

 Plaintiffs resulting in a massive and ongoing financial loss

         17) Ms. Dolan and her Influencers directly contacted multiple parties in an attempt to

 further their harassment of Plaintiffs and cause Plaintiffs further and substantial injury.

         18) Ms. Dolan and her Influencers made multiple efforts to directly or indirectly

 benefit financially from their campaign.

         19) Ms. Dolan and her Influencers made thousands of false, harassing, defamatory or

 otherwise damaging posts against plaintiffs on multiple social media accounts.

         20) Ms. Dolan and her Influencers stalked plaintiffs across social media and in person

 on multiple occasions including efforts to circumvent privacy measures put in place by

 plaintiffs.

         21) Ms. Dolan and her Influencers illegally recorded and rebroadcast footage from

 private or otherwise protected sources for the purposes of harassment of Plaintiffs and cause

 Plaintiffs further and substantial injury.

         22) Ms. Dolan falsely represented herself as working for/with the FBI for the

 purposes of attempting to add legitimacy to her harassment.
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         23) TikTok wrongfully removed plaintiffs social media accounts after false mass

 reporting from Monica Dolan and group and subsequently refused to reinstate said account

 despite being provided proof of the actions of Monica Dolan and Group

         24) TikTok refused to remove dangerous, harassing, defaming and other

 content/accounts posted/held by Ms. Dolan and her Influencers despite multiple contact

 attempts including being provided proof of all infractions and their directly corresponding

 correlation to their Community Guidelines. This includes but is not limited to content

 directly threatening and/or inciting violence against Plaintiffs.

         25) Facebook refused to remove dangerous, harassing, defaming and other

 content/accounts posted/held by Monica Dolan and group despite multiple contact attempts

 and proof of their violations of community guidelines including direct threats and or

 incitement of violence against plaintiffs.

         26) Plaintiffs further had their social media accounts wrongfully banned because of

 Dolan’s accusations, resulting in a loss of substantial income from these social media

 accounts for Defendants.

                                      COUNT I
                                DEFAMATION - SLANDER
                                    (MS. DOLAN)

         27) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

 allegations in the Factual Allegations to all Counts.

         28) Ms. Dolan made public statements to multiple individuals that Mr. Winter was a

 rapist and a sex trafficker.

         29) Examples of Ms. Dolan and her Influencers’ statements include but are not

 limited to:
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           (a) Plaintiffs are serial rapists with hundreds of victims;

           (b) Plaintiffs are serial rapists with thousands of victims;

           (c) Plaintiffs are murderers;

           (d) Plaintiffs are pedophiles and/or "Minor Attracted Persons";

           (e) Plaintiff is responsible for the death of Amber McCarter;

           (f) Plaintiff brought in/kidnapped runaways on multiple occasions;

           (g) Plaintiff is responsible for a claimed increase in missing children wherever he

               lived;

           (h) Plaintiff's book "Kaotik" is no longer sold because it is considered "child

               pornography";

           (i) Plaintiff drugged his ex-girlfriends;

           (j) Plaintiffs are sex traffickers;

           (k) Plaintiff chokes partners against their will and has killed people because of it

               and/or left them for dead;

           (l) Plaintiffs are physically abusive;

           (m) Plaintiffs have prevented parties from leaving their home;

           (n) Plaintiffs have committed insurance fraud;

           (o) Plaintiffs have committed housing fraud;

           (p) Plaintiffs force others to engage in polyamory/BDSM against their will;

           (q) Plaintiffs have together and separately raped ex-girlfriends;

           (r) Plaintiffs have committed identity fraud;

           (s) Plaintiff used his career at Heartland Payment systems to find "victims";

           (t) Plaintiffs groom minors and or others; and
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                (u) Plaintiffs were to use their soap company to lure minors.

           30) When making said statements, Ms. Dolan and her Influencers knew these

   allegations were false.

           31) Ms. Dolan and her Influencers made these false statements only after plaintiffs

   began to grow a large social media presence finding success more so than that of herself and

   the group.

           32) Due to Ms. Dolan’s and her Influencers’ public statements, Mr. Winter’s and Ms.

   Hurlburt's reputations have been damaged, plaintiffs have lost significant income, Mr. Winter

   lost his job and subsequently his health insurance from Heartland Payment Systems, Mr.

   Winter’s family, including his seven-year-old son, has received death threats, friends and

   associates of Plaintiffs have been directly and indirectly harassed on an ongoing basis by Ms.

   Dolan, her Influencers, and/or others acting directly or indirectly on their behalf.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt respectfully pray for

judgment against Defendants, Monica Dolan, group, Facebook and TikTok for an amount in

excess of $25,000.00; granting Plaintiffs mandatory injunctive relief requiring Ms. Dolan and the

other Defendants to take all actions necessary to remove the harmful posts from the Internet and

de-index any and all harmful posts from Internet search engines, granting Plaintiffs prohibitory

injunctive relief prohibiting Ms. Dolan and her Influencers from re-publishing any and all

harmful posts or otherwise publicly disseminating Plaintiffs private information; post-judgment

interest; costs for suit incurred herein, including but not limited to, attorney’s fees, court costs,

process serving fees; and for such other and further relief as this Court may deem just and proper

under the circumstances.

                                        COUNT II
                                    DEFAMATION – LIBEL
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                                        (MS. DOLAN)

        33) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

 allegations in the Factual Allegations to all Counts and all prior Counts.

        34) Ms. Dolan and her Influencers made public written statements to multiple

 individuals claiming that Mr. Winter was a rapist and sex trafficker.

        35) Examples of Ms. Dolan and her Influencers's public written statements include

 but are not limited to:

            (a) Plaintiffs are serial rapists with hundreds of victims;

            (b) Plaintiffs are serial rapists with thousands of victims;

            (c) Plaintiffs are murderers;

            (d) Plaintiffs are comparable to Somali Pirates and/or Dictators in their number of

                victims and the atrocity of their actions;

            (e) Plaintiffs are pedophiles and/or "Minor Attracted Persons";

            (f) Plaintiff is responsible for the death of Amber McCarter;

            (g) Plaintiff brought in/kidnapped runaways on multiple occasions;

            (h) Plaintiff is responsible for a claimed increase in missing children wherever he

                lived;

            (i) Plaintiff's book "Kaotik" is no longer sold because it is considered "child

                pornography";

            (j) Plaintiff drugged his ex-girlfriends;

            (k) Plaintiffs are sex traffickers;

            (l) Plaintiff chokes partners against their will and has killed people because of it

                and/or left them for dead;
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              (m) Plaintiffs are physically abusive;

              (n) Plaintiffs have prevented parties from leaving their home;

              (o) Plaintiffs have committed insurance fraud;

              (p) Plaintiffs have committed housing fraud;

              (q) Plaintiffs force others to engage in polyamory/BDSM against their will;

              (r) Plaintiffs have together and separately raped ex-girlfriends;

              (s) Plaintiffs have committed identity fraud;

              (t) Plaintiff used his career at Heartland Payment systems to find "victims";

              (u) Plaintiffs groom minors and or others;

              (v) Plaintiffs were to use their soap company to lure minors;

          36) When making these public written statements, Ms. Dolan and her Influencers

   knew these allegations were false.

          37) Ms. Dolan and her Influencers made these false statements without having any

   factual basis, and ultimately these statements are completely without merit.

          38) Due to Ms. Dolan and her Influencers's public written statements, Mr. Winter’s

   reputation has been damaged, Mr. Winter has lost significant income, Mr. Winter lost his job

   with Heartland Payment Systems, and Mr. Winter’s family, including his seven-year-old son,

   has received death threats.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully pray for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000.00; granting Mr.

Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting Mr. Winter prohibitory injunctive relief prohibiting Ms.
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Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating Mr. Winter’s private information; post-judgment interest; costs for suit incurred

herein, including but not limited to, attorney’s fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                            COUNT III
  TORTIOUS INTERFERENCE WITH BUSINESS CONTRACT AND EXPECTANCY
                           (MS. DOLAN)

           39) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           40) Mr. Winter had a valid contract and business expectancy with Geek Grooming to

   create, market and sell men's soap products. This included a future appearance on Shark

   Tank

           41) Mr. Winter had a valid contract and business expectancy with Heartland Payment

   Systems to sell financial services to small businesses.

           42) Plaintiffs had a valid contract and business expectancy to act as social media

   influencers, content creators, advocates et al in reference to alternative relationships,

   LGTBQ, and BDSM related topics under Beast and the Belles LLC

           43) Ms. Dolan and her Influencers had direct knowledge of plaintiffs’ contract and

   business expectancy.

           44) On or about October 1, 2020 Ms. Dolan and her Influencers began directly

   interfering with plaintiffs contract and business expectance in regards to Beast and the Belles

   LLC inducing a dramatic decline in income contrary to previous financial trends

           45) On or about April 1, 2021 Ms. Dolan contacted Heartland Payment systems and

   intentionally interfered with the contract expectancy between Mr. Winter and Heartland
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  Payment systems and induced Heartland Payment systems to terminate its contract with Mr.

  Winter prior to the expiration of the contract.

          46) On or about May 1, 2021, Ms. Dolan and her Influencers contacted Geek

  Grooming and intentionally interfered with the contract and business expectance between

  Mr. Winter and Geek Grooming and induced Geek Grooming to terminate its contract with

  Mr. Winter prior to the expiration of the contract.

          47) Based on Ms. Dolan and her Influencers’ defamatory and slanderous statements

  about Mr. Winter to Geek Grooming, to Heartland Payment Systems, as previously described

  in the Factual Allegations to all Counts and Counts I and Counts II respectively, Geek

  Grooming and Heartland Payment systems terminated their contract with Mr. Winter prior to

  the expiration of contract and Beast and the Belles LLC suffered continually increasing

  financial losses.

          48) Ms. Dolan and her Influencers had no legal justification to contact Geek

  Grooming and entice Geek Grooming or Heartland Payment Systems to terminate the

  contract between itself and Mr. Winter.

          49) Ms. Dolan and her Influencers had no legal justification to negatively affect the

  business, reputation or income of Beast and the Belles LLC.

          50) As a direct and proximate cause of Ms. Dolan’s interference with the contract

  between Geek Grooming and Heartland Payment Systems and Mr. Winter, in addition to the

  interference with Beast and the Belles LLC, Plaintiffs have suffered damages in excess of

  $25,000.00.

          51) The actions of Ms. Dolan and her Influencers were willful, wanton, and

  malicious.
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       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully pray for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000.00; granting Mr.

Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting Mr. Winter prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating Mr. Winter’s private information; post-judgment interest; costs for suit incurred

herein, including but not limited to, attorney’s fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                                   COUNT IV
              INVASION OF PRIVACY: PUBLICATION OF PRIVATE FACTS
                                 (MS. DOLAN)

           52) Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           53) Through social media, absent any valid waiver or legitimate privilege, Ms. Dolan

   and her Influencers gave unwanted and unreasonable publicity to Mr. Winter and Alexandria

   Hurlburt's private matters and concerns.

           54) Mr. Winter and Ms. Hurlburt are sufficiently identifiable as being the subject of

   Ms. Dolan’s social media posts, which include several photographs of Mr. Winter and

   Alexandria Hurlburt and repeated reference to Mr. Winter and Alexandria Hurlburt's name,

   address, phone number and other identifying information.

           55) The unreasonable publicity created by Ms. Dolan and her Influencers targets and

   focuses, in meaningful part, on private matters over which the public has no legitimate

   concern.
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          56) Ms. Dolan and her Influencers' social media posts include discussions of private

  events which do not touch the sphere of public interest, including but not limited to:

              (a) Plaintiffs’ home address;

              (b) Plaintiffs’ phone numbers;

              (c) Plaintiffs’ email addresses;

              (d) Plaintiffs’ family members names, addresses and phone numbers;

              (e) Plaintiffs’ seven (7) year old son’s name and address;

              (f) Disclosure publically of consensual sexual acts engaged in by Plaintiffs and

                  others;

              (g) Personal fetishes of Plaintiffs;

              (h) Private romantic conversations of Plaintiffs; and

              (i) Private photos and videos created by Plaintiffs for their personal use.

          57) The private matters which Ms. Dolan publicized included the type that would

  bring shame or humiliation to a person of ordinary sensibilities in Mr. Winter’s position.

          58) The private facts which Ms. Dolan and her Influencers publicized included

  plaintiffs address, phone number, and/or other identifying information which would induce

  fear and emotional distress to a person of ordinary sensibilities in plaintiffs position.

          59) Ms. Dolan and her Influencers disseminated these private facts through the

  Internet, reaching a large audience throughout the State of Missouri and worldwide.

          60) Ms. Dolan and her Influencers' actions complained of herein are extreme and

  outrageous, going beyond all bounds of decency by unreasonably intruding into and exposing

  to the public intimate details of Plaintiff’s life.
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           61) Ms. Dolan and her Influencers' actions complained of herein constitute a serious,

   unreasonable, unwarranted, and offensive interference with Mr. Winter’s right to privacy.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting Mr. Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take

all actions necessary to remove the harmful posts from the Internet and de-index any and all

harmful posts from Internet search engines, granting plaintiffs prohibitory injunctive relief

prohibiting Ms. Dolan and her Influencers from re-publishing any and all harmful posts or

otherwise publicly disseminating plaintiffs private information; post-judgment interest; costs for

suit incurred herein, including but not limited to, attorney’s fees, court costs, process serving

fees; and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                      COUNT V
                          INVASION OF PRIVACY: FALSE LIGHT
                                    (MS. DOLAN)

           62) Mr. Winter realleges and incorporates by reference, as if more fully stated herein,

   the allegations in the Factual Allegations to all Counts and all prior Counts.

           63) Ms. Dolan and her Influencers' social media posts unreasonably place plaintiffs in

   a false light before the public.

           64) Ms. Dolan and her Influencers' social media posts and other defamatory actions

   constitute a major misrepresentation of Plaintiffs character, history, activities, and beliefs.

           65) The false light in which plaintiff has been placed would be highly offensive to a

   reasonable person.
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           66) At all times relevant, Ms. Dolan was and is aware that plaintiffs would reasonably

   be justified in the eyes of the community in feeling seriously offended and aggrieved by the

   publicity created by her social media posts and other defamatory actions.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000.00; granting

plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating plaintiffs private information; post-judgment interest; costs for suit incurred

herein, including but not limited to, attorney’s fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances


                                 COUNT VI
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                (MS. DOLAN)

           67) Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts

           68) Ms. Dolan and her Influencers intentionally and knowingly made false statements

   to the public, as previously described in Count I, Count II, Count III, Count IV, and Count V,

   respectively.

           69) The actions and conduct of Defendants and group were extreme and outrageous.

           70) The actions and conduct of Defendants were the cause of plaintiffs harm and

   damages, including but not limited to:
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            (a) Dolan contacting the Clinton County Showcase to spread her false

                information and false accusations that prevented Mr. Winters from performing

                Rock of Ages.

            (b) Dolan contacting Looking Glass Playhouse to spread her false information

                and false accusations that prevented Mr. Winters from performing Rock of

                Ages.

            (c) constant and persistent fear of violent action directly/or indirectly by Ms.

                Dolan, group, or someone who believed their false statements;

            (d) re-emergence of Ms. Hurlburt's PTSD and other emotional distress being a

                former victim of stalking/harassment/violent threats;

            (e) dramatic    increase    in   Ms.     Hurlburt's   epilepsy   (complicated    by

                stress/exhaustion) causing further short term and potential long term harm

                and/or serious permanent harm up to and including potential fatal

                repercussions;

            (f) resurgence of previous emotional trauma caused by the loss of a beloved

                friend of Mr. Winter to a drug overdose after Ms. Dolan falsely insinuated Mr.

                Winter was responsible on the anniversary of her death causing Mr. Winter to

                suffer an anxiety attack/emotional episode; and

            (g) Plaintiffs needing counseling for potential long term side effects caused by the

                persistent fear of violence, being stalked.

         71) As a direct and proximate cause of Ms. Dolan and her Influencers’ actions and

  conduct, plaintiffs were damaged.
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       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Internet and de-index any and all harmful

posts from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting

Ms. Dolan and her Influencers from re-publishing any and all harmful posts or otherwise

publicly disseminating plaintiffs private information; post-judgment interest; costs for suit

incurred herein, including but not limited to, attorney’s fees, court costs, process serving fees;

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                      COUNT VII
                             NEGLIGENCE PER SE: STALKING
                                     (MS. DOLAN)

           72) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           73) The Missouri stalking, harassment, and unlawful posting of certain information

   over the internet laws are designed to protect citizens within the State of Missouri from

   individuals who stalk and harass.

           74) Ms. Dolan and her Influencers violated Section 565.225 of the Missouri Revised

   Statutes, which restricts a person from disturbing or following with the intent of disturbing

   another person and making a threat communicated with the intent to cause the person who is

   the target of the threat reasonably fear for his safety or the safety of his family.

           75) Plaintiffs are a member of the class of persons intended to be protected by this

   Statute.
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           76) Plaintiffs injuries were of a kind the statutes and ordinances were designed to

   prevent.

           77) As a direct and proximate cause of the Defendant’s violations of Missouri law,

   plaintiffs sustained injuries, loss of income, medical bills, pain and suffering, and other

   damages.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Internet and de-index any and all harmful

posts from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting

Ms. Dolan and her Influencers from re-publishing any and all harmful posts or otherwise

publicly disseminating plaintiffs private information; post-judgment interest; costs for suit

incurred herein, including but not limited to, attorney’s fees, court costs, process serving fees;

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                    COUNT VIII
                          NEGLIGENCE PER SE: HARASSMENT
                                   (MS. DOLAN)

           78) Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           79) The Missouri harassment laws are designed to protect citizens within the State of

   Missouri from individuals who stalk and harass.
                                                                                                     Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
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           80) Ms. Dolan and her Influencers violated Section 565.090 of the Missouri Revised

   Statutes, which restricts a person from engaging in any act with the purpose to cause

   emotional distress to another person.

           81) Plaintiffs have suffered emotional distress as a result of Ms. Dolan’s harassment

   and stalking.

           82) Plaintiffs are a member of the class of persons intended to be protected by this

   Statute.

           83) Plaintiff's injuries were of a kind the statutes and ordinances were designed to

   prevent.

           84) As a direct and proximate cause of the Defendant’s violations of Missouri law,

   plaintiffs sustained injuries, loss of income, medical bills, pain and suffering, and other

   damages.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000; granting

plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating plaintiffs private information; post-judgment interest; costs for suit incurred

herein, including but not limited to, attorney’s fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                            COUNT IX
   NEGLIGENCE PER SE: UNLAWFUL POSTING OF CERTAIN INFORMATION
                        OVER THE INTERNET
                           (MS. DOLAN)
                                                                                                          Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
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             85) Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

             86) The Missouri unlawful posting of certain information over the internet laws are

   designed to protect citizens within the State of Missouri from individuals who stalk and

   harass.

             87) Ms. Dolan and her Influencers violated Section 565.240 of the Missouri Revised

   Statutes, which restricts a person from posting certain information over the internet,

   including name, home address, Social Security number, or telephone number while intending

   to cause great bodily harm or death, or threatening to cause great bodily harm or death to

   such person.

             88) Ms. Dolan and her Influencers intend and has threatened to cause great bodily

   harm to both Mr. Winter and his family.

             89) Plaintiffs are a member of the class of persons intended to be protected by this

   Statute.

             90) Plaintiffs injuries were of a kind the statutes and ordinances were designed to

   prevent.

             91) As a direct and proximate cause of the Defendant’s violations of Missouri law,

   Mr. Winter sustained injuries, loss of income, pain and suffering, and other damages.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Internet and de-index any and all harmful

posts from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting
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Ms. Dolan and her Influencers from re-publishing any and all harmful posts or otherwise

publicly disseminating plaintiffs private information; post-judgment interest; costs for suit

incurred herein, including but not limited to, attorney’s fees, court costs, process serving fees;

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                       COUNT X
                                   GROSS NEGLIGENCE
                                (FACEBOOK AND TIKTOK)

           92) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           93) Facebook and TikTok owed Mr. Winter a duty to take down any false abusive

   posts and/or any post containing personal identifying information of Mr. Winter for the

   purpose of stalking and harassment, including, but not limited to, plaintiffs address and

   phone number.

           94) Facebook and TikTok breached said duty when both companies refused to take

   down any false abusive posts and/or any posts containing personal identifying information of

   Mr. Winter for the purpose of stalking and harassment, including, but not limited to,

   plaintiffs address and phone number.

           95) But for Facebook and TikTok’s failure to take down the false abusive posts and/or

   posts containing plaintiffs personal identifying information for the purposes of stalking and

   harassment, Plaintiffs have suffered a significant loss of reputation, significant loss of

   income, has received death threats against him and his family, including Mr. Winter’s seven-

   year-old son, and has suffered severe emotional distress.
                                                                                                      Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
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           96) Plaintiffs injuries were a foreseeable consequence of Facebook and TikTok’s

   refusal to take down the false abusive posts and/or posts containing plaintiffs personal

   identifying information for the purposes of stalking and harassment.

           97) As a direct and proximate cause of Facebook and TikTok’s failure to take down

   the false abusive posts and/or posts containing plaintiffs personal identifying information for

   the purposes of stalking and harassment, plaintiffs sustained damages in an amount in excess

   of 500,000.00.

           98) Facebook and TikTok’s actions were willful, wanton, malicious, and without

   regard for the rights of plaintiffs.

       WHEREFORE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Facebook, Inc. and TikTok, for an amount in excess of 25,000.00;

granting plaintiffs mandatory injunctive relief requiring Facebook and TikTok to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines; post-judgment interest; costs for suit incurred herein, including but

not limited to, attorney’s fees, court costs, process serving fees; and for such other and further

relief as this Court may deem just and proper under the circumstances.



                                                     Respectfully submitted,


                                                     HOWARD HAAKE, LLC




                                             By:     ____________________________________

                                                     Derek R. Haake, #64301
                                                                                  Electronically Filed - City of St. Louis - July 09, 2021 - 11:16 PM
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                                          511 W. Pearce Blvd.
                                          Wentzville, MO 63385
                                          Office: (636) 332-5555
                                          derek@howardhaake.com
                                          Attorney for Plaintiff
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 ,-}i'.;:w.;a.~}.   Case: 4:21-cv-01046-JAR Doc. #: 1-1 Filed: 08/20/21 Page: 25 of 48 PageID #: 31
                     iN THE 22ND JU®ICIAL C{RClJIT, CIT'Y OF ST LOUIS, MISSOURI

 Judge or Division:                                                       Case Number: 2122-CC08817
 MICHAEL FRANCIS STELZER
 Plaintiff/Petitioner:                                                    Plaintiff's/Petitioner's Attorney/Address
 ELLIOT J WINTER                                                          DEREK ROBERT HAAKE
                                                                          511 W PEARCE BLVD
                                                                    vs.   WENTZVILLE, MO 63385
 Defendant/Respondent:                                                    Court Address:
 FACEBOOK INC                                                             CIVIL COURTS BUILDING
 Nature of Suit:                                                          10 N TUCKER BLVD
 CC Pers Injur -Other                                                     SAINT LOUIS, MO 63101
                                                                                                                                          Date File Stam
                                                                 Summons in Civol Case
   The State of Missouri to: FACEE300K INC
                             Alias:
  CSC LAWYERS INC SERVICE CO                                                                                COLE COlrDNTY, MO
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101
            COURT SEAL OF                    You are summoned to appear before this court and to file your pleading to the petition, a
                 GoU~T
                    ' o~~<,'7r
                                             copy of which is attached~ and to serve a copy of your pleading upon the attorney for
             ~      j~~
                       ~ ~~                  plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                             C~              exclusive of the day of service. 6f you fail to file your pleading, judgment by default may
                                             be taken against you for the relief demanded in the petition.

          CITYOFSTLOUlS                            July'i3, 2021
                                                         Date                                                         Clerk
                                             Further Information:
                                                        Sheriff's or Server's Return
       Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
       I certify that I have served the above summons by: (check one)
       ❑ delivering a copy of the summons and a copy of the petition to the defendant/respondent.
       ❑ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
                                                                        , a person of the defend ant's/res pondent's family over the age of
            15 years who permanently resides with the defendant/respondent.
       ❑ (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
                                                                    (name)                                                           (title).
       ❑ other:

       Served at                                                                                                                                 (address)
       in                                                (County/City of St. Louis), MO, on                               (date) at              _   (time).


                             Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                                          Must be sworn before a not.ary public if not served by an authorized officer:
                                          Subscribed and sworn to before me on                                                (date).
                    (Seal)
                                          My commission expires:
                                                                                 Date                                     Notary Public
   Sheriff's Fees, if applicable
   Summons
   Non Est
   Sheriff's Deputy Salary
   Supplemental Surcharge        $   10.00
   Mileage                       $                          miles @ $.       per mile)
   Total
   A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
   classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-9525                       1 of 1            Civil Procedure Form No. 1; Rules 54.01 — 54.05,
                                                                                                        54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
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                         IN TFIE CIRCI7I'I' COi1RT OF ST: LOIJIS CITY
                                    S'I'ATE OF 1VIISSOIJP.I

    ELLIOT WINTER,

    and,

    ALEXANDRIA HURLBURT,

           Plaintiffs,
                                                             Cause No.:
    V.
                                                             Division:
    FACEBOOK, INC.,
         Ser®e Igegastered Agent:
         CSC-Lawyers Incorporating Service Co.
         221 Bolivar Street
         Jefferson City, Missouri 65101

    and,

    TIKTOK INC., TIKTOK PTE. LTD.,
    BYTEDANCE LTD., and BYTEDANCE INC.,
         Serve IZegpstered Asent:                              -1 a . M N.,I
                                                             M,N
         Corporation Service Company
         251 Little Falls Drive
         Wilmington, Delaware 19808

    and,

    MONICA DOLAN,
         Serve I'arty at:
        15914 44t1' W. Ave.
        Apt. D102
        Lynnwood, WA 98087

           Defendants.

                                   PETI'PI®N F'OIZ I)AMAGES

           COMES NOW, Plaintiffs, Elliot Winter (hereinafter "Mr. Winter"), and Alexandria

    Hurlburt (hereinafter "Ms. Hurlburt") by and through counsel, Derek R. Haake, and for their

    Petition for Damages against Defendants, Facebook, Inc. (hereinafter "Facebook"), TikTok Inc.,
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                                                                                                     E




TikTok Pte. Ltd.,ByteDance, Ltd., and ByteDance, Inc., (hereinafter "TikTok"), and Monica

Dolan (hereinafter "Ms. Dolan") and states to the Court as follows:

                         PL-9.lAA IES,   J-URISDICTI®lr y   L'aliD W   E1\ VE


           1) Plaintiffs, Mr. Winter and Ms. Hurlburt, at all times relevant herein, are residents

   of the City of St. Louis, State of Missouri.

           2) Defendant, Facebook, at all times relevant herein, is a foreign corporation

   licensed to do business in the State of Missouri, incoi-porated within the State of Delaware

   with its principal place of business located at 1601 Willow Road, Menlo Park, California

   94025 and does normal business in the State of Missouri with continual contacts within the

   jurisdiction of St. Louis City, Missouri.

           3) Defendant, TikTok, at all times relevant herein, is a foreign corporation not

   licensed to do business in the State of Missouri, incorporated within the State of Delaware

   with its principal place of business located at Room 501, 5th Floor, Xinaote Science and

   Technology Building, 131 West Fourth Ring North Road, Haidian District, Beijing, People's

   Republic of China 100086, and does normal business in the State of Missouri with continual

   contacts within the jurisdiction of St. Louis City, Missouri.

           4) Defendant, Ms. Dolan, is a currently resident of the Snohomish County, State of

   Washington.

           5) Jurisdiction and venue are proper in this Court because the causes of action

   asserted herein accrued in St. Louis City, Missouri, where the Defendants have continual

   contacts or have committed tortious acts within the State of Missouri; pursuant to Missouri

   Revised Statutes § 508.010 and § 506.500.1(3), respectively.
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          6) On or about October 1 2020, Ms. Dolan and her group of other social media

   influencers, personalities, or other similarly situated individuals (hereinafter "Influences")

   began defaming Plaintiffs on social media.

          7) Ms. Dolan directly or indirectly and her Influencers posted private, intimate

  details of Plaititiffs on social media, including personal sexual habits, Plaintiff's addresses,

  phone numbers and other personal information about Plaintiffs at this time.

          8) Ms. Dolan or her Influencers did not have authorization to post Plaintiffs personal

  and otherwise confidential information at this time on social media.

          9) Ms. Dolan and her Influencers fiu-ther engaged in a pattern of beliavior that

  resulted in the harassment of the Plaintiffs on her social media accounts beginning in March

  of 2021.

          10)Ms. Dolan fiu-ther left her residence in Washington
                                                            tn   and as of the date of the filing

  of this Petition is presently residing in the State of Missouri for the sole purpose to harass,

  chastise and engage in other illegal conduct to damage Plaintiff in this lawsuit.

          11)Ms. Dolan directly, or through influence of others defaced the entire block of

  1600 locust including the Plaintiffs apartment building, the St Louis Film Library, Sidewalk,

  Parking Meters, Street Signs, Dumpsters and more with false and/or threatening messages

          12)Ms. Dolan and her Influencers directly conspired to create a false narrative in an

  effort to defame, harass, emotionally toi-ment, and affect the business/health of the plaintiffs

         13)Ms. Dolan and her Influencers on more than one occasion incited and/or

  suggested violent action be taken against Plaintiffs
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          14)Ms. Dolan and her Influencers directly or indirectly harassed the plaintiffs, their

  family members, supporters and friends in and order to further cause harm to plaintiffs and/or

  silence those who countered her and group's false statements

          15)Ms. Dolan directly resulted in Mr. Winter's termination from his employer and

  subsequently the loss of the plaintiffs health insurance

          16)Ms. Dolan and her Influencers directly affected two businesses owned by

  Plaintiffs resulting in a massive and ongoing fmancial loss

          17)Ms. Dolan and her Influencers directly contacted multiple parties in an attempt to

  further their harassment of Plaintiffs and cause Plaintiffs further and substantial injury.

          I 8) Ms. Dolan and her Influencers made multiple efforts to directly or indirectly

  benefit financially from their campaign.

          19)Ms. Dolan and her Influencers made thousands of false, harassing, defamatory or

  otherwise damaging posts against plaintiffs on multiple social media accounts.

          20) Ms. Dolan and her Influencers stalked plaintiffs across social media and in person

  on multiple occasions including efforts to circumvent privacy measures put in place by

  plaintiffs.

          21)Ms. Dolan and her Influencers illegally recorded and rebroadcast footage from

  private or otherwise protected sources for the purposes of harassment of Plaintiffs and cause

  Plaintiffs further and substantial injury.

          22) Ms. Dolan falsely represented herself as working for/with the FBI for the

  purposes of attempting to add legitimacy to her harassment.
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          23) TikTok wrongfully removed plauitiffs social media accounts after false mass

  reporting from Monica Dolan and group and subsequently refused to reinstate said account

  despite being provided proof of the actions of Monica Dolan and Group

          24) TikTok refused to remove dangerous, harassing, defaining and other

  content/accounts posted/held by Ms. Dolan and her Influencers despite multiple contact

  attempts including being provided proof of all infractions and their directly corresponding

  correlation to their Community Guidelines. This includes but is not limited to content

  directly threatening and/or inciting violence against Plaintiffs.

          25) Facebook refused to remove dangerous, harassing, defaming and other

  content/accounts posted/held by Monica Dolan and group despite multiple contact attempts

  and proof of their violations of community guidelines including direct threats and or

  incitement of violence against plaintiffs.

          26) Plaintiffs further had their social media accounts wrongfully banned because of

  Dolan's accusations, resulting in a loss of substantial income from these social media

  accounts for Defendants.

                                       C®UN'I' I
                                 DEFAMATI®N - SI.ANDER
                                     (MS. D®I.AN)

          27) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

  allegations in the Factual Allegations to all Counts.

          28)Ms. Dolan made public statements to multiple individuals that Mr. Winter was a

  rapist and a sex trafficker.

          29) Examples of Ms. Dolan and her Influencers' statements include but are not

  limited to:
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           (a) Plaintiffs are serial rapists with hundreds of victims;

           (b) Plaintiffs are serial rapists with thousands of victims;

           (c) Plaintiffs are murderers;

           (d) Plaintiffs are pedophiles and/or "Minor Attracted Persons";

           (e) Plaintiff is responsible for the death of Amber McCarter;

           (f) Plaintiff brought in/kidnapped runaways on multiple occasions;

           (g) Plaintiff is responsible for a claimed increase in missing children wherever he

               lived;

           (h) Plaintiff s book "Kaotik" is no longer sold because it is considered "child

               pornography";

           (i) Plaintiff drugged his ex-girlfriends;

           (j) Plaintiffs are sex traffickers;

           (k) Plaintiff cliokes partners against their will and has killed people because of it

               and/or left them for dead;

           (1) Plaintiffs are physically abusive;

           (m)Plaintiffs have prevented parties from leaving their home;

           (n) Plaintiffs have committed insurance fraud;

           (o) Plaintiffs have committed housing fraud;

           (p) Plaintiffs force others to engage in polyamory/BDSM against their will;

           (q) Plaintiffs have together and separately raped ex-girlfriends;

           (r) Plaintiffs have committed identity fiaud;

           (s) Plaintiff used his career at Heartland Payment systems to fmd "victims" ;

           (t) Plaintiffs groom minors and or others; and
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                (u) Plaintiffs were to use their soap company to lure minors.

           30) When making said statements, Ms. Dolan and her Influencers knew these

   allegations were false.

           31)Ms. Dolan and her Influencers made these false statements only after plaintiffs

   began to grow a large social media presence finding success more so than that of herself and

   the group.

           32)Due to Ms. Dolan's and her Influencers' public statements, Mr. Winter's and Ms.

   Hurlburt's reputations have been damaged, plaintiffs have lost significant income, Mr. Winter

   lost his job and subsequently his health insurance from Heartland Payment Systems, Mr.

   Winter's family, including his seven-year-old son, has received death threats, friends and

   associates of Plaintiffs have been directly and indirectly harassed on an ongoing basis by Ms.

   Dolan, her Influencers, and/or others acting directly or indirectly on their behalf.

       WHElZEF®IZE, Plaintiffs, Elliot Wuiter and Alexandria Hurlburt respectfully pray for

judgment against Defendants, Monica Dolan, group, Facebook and TikTok for an amount in

excess of $25,000.00; granting Plaintiffs mandatory injunctive relief requiring Ms. Dolan and the

other Defendants to take all actions necessary to remove the harmful posts from the Internet and

de-index any and all harmful posts from Internet search engines, granting Plaintiffs prohibitory

injunctive relief prohibiting Ms. Dolan and her Influencers from re-publishing any and all

harmful posts or otherwise publicly disseminating Plaintiffs private information; post judgment

interest; costs for suit incurred herein, including but not limited to, attorney's fees, court costs,

process serving fees; and for such other and further relief as this Court may deem just and proper

under the circumstances.

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                                          (MS. D®g,AN)

          33)Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

  allegations in the Factual Allegations to all Counts and all prior Counts.

          34)Ms. Dolan and her Influencers made public written statements to multiple

  individuals claiming that Mr. Winter was a rapist and sex trafficker.

          35)Examples of Ms. Dolan and her Influencers's public written statements include

  but are not limited to :

              (a) Plaintiffs are serial rapists with hundreds of victims;

              (b) Plaintiffs are serial rapists with thousands of victims;

              (c) Plaintiffs are murderers;

              (d) Plaintiffs are comparable to Somali Pirates and/or Dictators in their number of

                  victims and the atrocity of their actions;

              (e) Plaintiffs are pedophiles and/or "Minor Attracted Persons";

              (f) Plaintiff is responsible for the death of Amber McCarter;

              (g) Plaintiff brought in/kidnapped runaways on multiple occasions;

              (h) Plaintiff is responsible for a claimed increase in missing children wherever he

                  lived;

              (i) Plaintiff s book "Kaotik" is no longer sold because it is considered "child

                  pornography";

              (j) Plaintiff drugged his ex-girlfriends;

              (k) Plaintiffs are sex traffickers;

              (1) Plaintiff chokes partners against their will and has killed people because of it

                  and/or left them for dead;
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              (m)Plaintiffs are physically abusive;

              (n) Plaintiffs have prevented parties from leaving their home;

              (o) Plaintiffs have committed insurance fraud;

              (p) Plaintiffs have committed housing fraud;

              (q) Plaintiffs force others to engage in polyamory/BDSM against their will;

              (r) Plaintiffs have together and separately raped ex-girlfriends;

              (s) Plaintiffs have committed identity fraud;

              (t) Plaintiff used his career at Heartland Payment systems to find "victims" ;

              (u) Plaintiffs groom minors and or others;

              (v) Plaintiffs were to use their soap company to lure minors;

           36) When making these public written statements, Ms. Dolan and her Influencers

   knew these allegations were false.

           37) Ms. Dolan and her Influencers made these false statements without having any

   factual basis, and ultimately these statements are completely -%vithout merit.

           38) Due to Ms. Dolan and her Influencers's public written statements, Mr. Winter's

   reputation has been damaged, Mr. Winter has lost significant income, Mr. Winter lost his job

   with Heartland Payment Systems, and Mr. Winter's farnily, including his seven-year-old son,

   has received death threats.

       WHEREF®RE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully pray for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000.00; grantulg Mr.

Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts ,

from Internet search engines, granting Mr. Winter prohibitory injunctive relief prohibiting Ms.
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Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating Mr. Winter's private information; post judgment interest; costs for suit incurred

herein, including but not limited to, attorney's fees, court costs, process sei-ving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                                  COUle1'>[' IH
  T®Ia'Y'I®><JS INT'ERFERENCE WITH BUSI101ESS C®N'I'12AC'>[' APaTD EXPECTANCY
                                 (MS. D®LAN)

           39)Plaintiffs reallege and incoi-porate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           40) Mr. Winter had a valid contract and business expectancy with Geek Grooming to

   create, market and sell men's soap products. This included a future appearance on Shark

   Tank

           41) Mr. Winter had a valid contract and business expectancy with Heartland Payinent

   Systems to sell fmancial services to small businesses.

           42) Plaintiffs had a valid contract and business expectancy to act as social media

   influencers, content creators, advocates et al in reference to alternative relationships,

   LGTBQ, and BDSM related topics under Beast and the Belles LLC

          43) Ms. Dolan and her Influencers had direct lcnowledge of plaintiffs' contract and

   business expectancy.

          44) On or about October l, 2020 Ms. Dolan and her Influencers began directly

   interfering with plaintiffs contract and business expectance in regards to Beast and the Belles

   LLC inducing a dramatic decline in income contrary to previous fmancial trends

          45) On or about April 1, 2021 Ms. Dolan contacted Heartland Payment systems and

   intentionally interfered with the contract expectancy between Mr. Winter and Heartland
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  Payment systems and induced Heartland Payment systeins to terminate its contract with Mr.

  Winter prior to the expiration of the contract.

          46) On or about May 1, 2021, Ms. Dolan and her Influencers contacted Geek

  Grooming and intentionally interfered with the contract and business expectance between

  Mr. Winter and Geek Grooming and induced Geek Grooming to terminate its contract with

  Mr. Winter prior to the expiration of the contract.

          47) Based on Ms. Dolan and her Influencers' defamatory and slanderous statements

  about Mr. Winter to Geek Grooming, to Heartland Payment Systems, as previously described

  in the Factual Allegations to all Counts and Counts I and Counts II respectively, Geek

  Grooming and Heartland Payment systems terminated their contract with Mr. Winter prior to

  the expkation of contract and Beast and the Belles LLC suffered continually increasing

  fmancial lo sses.

          48) Ms. Dolan and her Influencers had no legal justification to contact Geek

  Grooming and entice Geek Grooniing or Heartland Payment Systems to terminate the

  contract between itself and Mr. Winter.

          49) Ms. Dolan and her Influencers had no legal justification to negatively affect the

  business, reputation or income of Beast and the Belles LLC.

          50) As a direct and proximate cause of Ms. Dolan's interference with the contract

  between Geek Grooming and Heartland Payment Systems and Mr. Winter, in addition to the

  interference with Beast and the Belles LLC, Plaintiffs have suffered damages in excess of

  $25,000.00.

         51) The actions of Ms. Dolan and her Influencers were willful, wanton, and

  malicious.
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       W1E1ERIEFORIE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully pray for

judgment against Defendant, Monica Dolaii, for an amount in excess of $25,000.00; granting Mr.

Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting Mr. Winter prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminatuig Mr. Winter's private information; post judgment interest; costs for suit incurred

herein, including but not Iv.~nited to, attorney's fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                                   COiJI®TT 1[V
              INVASION OF PRIVACY: PUBI,ICATION OF PRIVATE FACTS
                                 (1VIS. DOLAN)

           52)Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           53)Through social media, absent any valid waiver or legitimate privilege, Ms. Dolan

   and her Influencers gave unwanted and unreasonable publicity to Mr. Wiizter and Alexandria

   Hurlburt's private matters and concerns.

           54)Mr. Winter and Ms. Hurlburt are sufficiently identifiable as being the subject of

   Ms. Dolan's social media posts, which include several photographs of Mr. Winter and

   Alexandria Hurlburt and repeated reference to Mr. Winter and Alexandria Hurlburt's name,

   address, phone number and other identifying information.

          55)The unreasonable publicity created by Ms. Dolan and her Influencers targets and

   focuses, in meaningful part, on private matters over which the public has no legitimate

   concern.
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          56) Ms. Dolan and her Influencers' social media posts include discussions of private

  events which do not touch the sphere of public interest, including but not limited to:

              (a) Plaintiffs' home address;

              (b) Plaintiffs' phone nuinbers;

              (c) Plaintiffs' email addresses;

              (d) Plaintiffs' fainily members naines, addresses and phone numbers;

              (e) Plaintiffs' seven (7) year old son's name and address;

              (f) Disclosure publically of consensual sexual acts engaged in by Plaintiffs and

                  others;

              (g) Personal fetishes of Plaintiffs;

              (h) Private romantic conversations of Plaintiffs; and

              (i) Private photos and videos created by Plaintiffs for their personal use.

          57) The private matters which Ms. Dolan publicized included the type that would

  briiig shame or humiliation to a person of ordinary sensibilities in Mr. Winter's position.

          58) The private facts which Ms. Dolan and her Influencers publicized included

  plaintiffs address, phone number, and/or other identifying information which would induce

  fear and emotional distress to a person of ordinary sensibilities in plaintiffs position.

          59) Ms. Dolan and her Influencers disseminated these private facts tbrough the

  Internet, reaching a large audience throughout the State of Missouri and worldwide.

          60) Ms. Dolan and her Influencers' actions complained of herein are extreme and

  outrageous, going beyond all bounds of decency by unreasonably intruding into and exposing

  to the public intimate details of Plaintiff's life.
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           61)Ms. Dolan and her Influencers' actions complained of herein constitute a serious,

   unreasonable, unwarranted, and offensive interference with Mr. lv~Tinter's riglit to privacy.

       WJ1iER-EF®RE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount ui excess of $25,000.00;

granting Mr. Winter mandatory injunctive relief requiring Ms. Dolan and her Influencers to take

all actions necessary to remove the harmful posts from the Internet and de-index any and all

harmful posts from Internet search engines, granting plaintiffs prohibitory injunctive relief

prohibiting Ms. Dolan and her Influencers from re-publishing any and all harmful posts or

otherwise publicly disseminating plaintiffs private information; post judgment interest; costs for

suit incurred herein, including but not limited to, attorney's fees, court costs, process serving

fees; and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                     C®>LTNT V
                          INVASI®N®F PRIVACY: FALSE I,IGH'I'
                                   (MS. I)®LAN)

           62)Mr. Winter realleges and incorporates by reference, as if more fully stated herein,

   the allegations in the Factual Allegations to all Counts and all prior Counts.

           63)Ms. Dolan and her Influencers' social media posts unreasonably place plaultiffs in

   a false light before the public.

          64)Ms. Dolan and her Influencers' social media posts and other defamatory actions

   constitute a major misrepresentation of Plaintiffs character, history, activities, and beliefs.

          65)The false light in which plaintiff has been placed would be highly offensive to a

   reasonable person.
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           66)At all times relevant, Ms. Dolan was and is aware that plaintiffs would reasonably

   be justified in the eyes of the community in feeling seriously offended and aggrieved by the

   publicity created by her social media posts and other defamatory actions.

       WHEIiEF®RE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendant, Monica Dolan, for an amount in excess of $25,000.00; granting

plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts from the Internet and de-index any and all harmful posts

from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating plaintiffs private information; post judgment interest; costs for suit incurred

herein, including but not liniited to, attorney's fees, court costs, process serving fees; and for

such other and further relief as tlus Court may deem just and proper under the circumstances


                                             COiJN'T VI
               Il°+t'I'EleI'I'I®NAL INFLIC'I'ION DF E1VI®TI®1VAL DIS'I'RESS
                                         (1VIS. I)®LAN)

           67)Plaintiffs reallege and incorporates by reference, as if more fally stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts

           68)Ms. Dolan and her Influencers intentionally and knowingly made false statements

   to the public, as previously described in Count I, Count II, Count III, Count IV, and Count V,

   respectively.

           69)The actions and conduct of Defendants and group were extreme and outrageous.

           70) The actions and conduct of Defendants were the cause of plaintiffs harm and

   damages, includ'uig but not limited to:
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             (a) Dolan contacting the Clinton County Showcase to spread - her false

                information and false accusations that prevented Mr. Winters from performing

                Rock of Ages.

             (b) Dolan contacting Looking Glass Playhouse to spread her false information

                and false accusations that prevented Mr. Winters from performing Rock of

                Ages.

             (c) constant and persistent fear of violent action directly/or induectly by Ms.

                Dolan, group, or someone who believed their false statements;

             (d) re-emergence of Ms. Hurlburt's PTSD and other emotional distress being a

                former victim of stalking/harassment/violent threats;

             (e) dramatic   increase    in   Ms.     Hurlburt's   epilepsy   (complicated    by

                stress/exhaustion) causing further short tei-m and potential long term harm

                and/or serious permanent harm up to. and including potential fatal

                repercussions;

             (f) resurgence of previous emotional trauma caused by the loss of a beloved

                friend of Mr. Winter to a drug overdose after Ms. Dolan falsely insinuated Mr.

                Winter was responsible on the anniversary of her death causing Mr. Winter to

                suffer an anxiety attack/emotional episode; and

            (g) Plaintiffs needing counseling for potential long term side effects caused by the

                persistent fear of violence, being stalked.

         71) As a duect and proximate cause of Ms. Dolan and her Influencers' actions and

  conduct, plaintiffs were damaged.
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       WHEREF®RE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatoiy injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Internet and de-index any and all harmful

posts from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting

Ms. Dolan and her Influencers from re-publishing any and all harmful posts or otherwise

publicly disseminating plaintiffs private information; post judgment interest; costs for suit

incurred herein, including but not liinited to, attorney's fees, court costs, process servulg fees;

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                          C®UNT N7II
                               NEGI,IGENCE PER SE: STAI,KING
                                         1VIS. D®LAN)
                                        (M

              72)Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

              73) The Missouri stalking, harassment, and unlawful posting of certain information

   over the internet laws are designed to protect citizens within the State of Missouri fiom

   individuals who stalk and harass.

              74)Ms. Dolan and her Influencers violated Section 565.225 of the Missouri Revised

   Statutes, which restricts a person from disturbing or following with the intent of disturbing

   another person and making a threat communicated with the intent to cause the person who is

   the target of the threat reasonably fear for his safety or the safety of liis family.

           75) Plaintiffs are a member of the class of persons intended to be protected by this

   Statute.
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           76)Plaintiffs injuries were of a kind the statutes and ordinances were designed to

   prevent.

           77)As a direct and proximate cause of the Defendant's violations of Missouri law,

   plaintiffs sustained injuries, loss of income, medical bills, pain and suffering, and other

   damages.

       WHEREF®RE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfizlly prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Intei-net and de-index any and all harmfal

posts from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting

Ms. Dolan and her Influencers from re-publishing any and all harmful posts or otherwise

publicly disseininating plaintiffs private information; post judgment interest; costs for suit

incurred lierein, including but not limited to, attorney's fees, court costs, process serving fees;

and for such other and further relief as this Court may deem just and proper under the

circumstances.

                                      C®UNT VgII
                          NE~GLIGElNCE PER SE: HARASS1VdENT
                                     (MS. D®LA.N)

           78)Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           79)The Missouri harassment laws are designed to protect citizens within the State of

   Missouri from individuals who stalk and harass.
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              80) Ms. Dolan and her Influencers violated Section 565.090 of the Missouri Revised

   Statutes, wluch restricts a person from engaging in any act with the purpose to cause

   emotional distress to another person.

              81) Plaintiffs have suffered emotional distress as a result of Ms. Dolan's harassment

   and stalking.

              82) Plaintiffs are a member of the class of persons intended to be protected by this

   Statute.

              83) Plaintiff s injuries were of a kind the statutes and ordinances were designed to

   prevent.

           84) As a direct and proximate cause of the Defendant's violations of Missouri law,

   plaintiffs sustahied injuries, loss of income, medical bills, pain and suffering, and other

   damages.

       VVI-IEI2EF®1ZE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendant, Monica Dolan, for an ainount in excess of $25,000; granting

plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all actions

necessary to remove the harmful posts fiom the Internet and de-index any and all harmful posts

from Internet search engines, granting plaintiffs prohibitory injunctive relief prohibiting Ms.

Dolan and her Influencers from re-publishing any and all harmful posts or otherwise publicly

disseminating plaintiffs private information; post judgment interest; costs for suit incurred

herein, including but not limited to, attorney's fees, court costs, process serving fees; and for

such other and further relief as this Court may deem just and proper under the circumstances.

                                 C®UN'I' IX
   NEGI.,IGENCE PEIZ SE: UNI,AWFUL P®S'I"Il\1G ®I+ CER7CAIN INP®RMA'I'I®N
                           ®VEfl2 T)FIE IN'I'ERNE'I'
                               (1VIS. D®I.AN)
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               85)Plaintiffs reallege and incorporates by reference, as if more fully stated herein, the

    allegations in the Factual Allegations to all Counts and all prior Counts.

               86)The Missouri unlawful posting of certain information over the internet laws are

    designed to protect citizens within the State of Missouri from individuals who stalk and

    harass.

               87)Ms. Dolan and her Influencers violated Section 565.240 of the Missouri Revised

    Statutes, which restricts a person from posting certaui information over the internet,

    including name, home address, Social Security number, or telephone number while intending

    to cause great bodily harm or death, or threatening to cause great bodily harm or death to

    such person.

               88)Ms. Dolan and her Influencers intend and has threatened to cause great bodily

    harm to both Mr. Winter and his family.

               89)Plaintiffs are a member of the class of persons intended to be protected by this

    Statute.

              90)Plaintiffs injuries were of a kind the statutes and ordinances were designed to

   prevent.

              91)As a direct and proximate cause of the Defendant's violations of Missouri law,

   Mr. Winter sustained injuries, loss of income, pain and suffering, and other damages.

       WHEREF®RIE, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Monica Dolan and group, for an amount in excess of $25,000.00;

granting plaintiffs mandatory injunctive relief requiring Ms. Dolan and her Influencers to take all

actions necessary to remove the harmful posts from the Internet and de-index any and all harmful

posts from Internet search engiiles, granting plaintiffs prohibitory injunctive relief prohibiting
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Ms. Dolan and her Influencers from re-publislung any and all harmful posts or otherwise

publicly disseminating plaintiffs private information; post judgment interest; costs for suit

incurred herein, including but not 1'united to, attorney's fees, court costs, process serving fees;

and for such other , and further relief as this Court may deem just and proper under the

circumstances.

                                           C®V1\TT 11
                                   G1Z®SS NEGLIGENCE
                                (FACEB®®K AN➢) TIKT®K)

           92) Plaintiffs reallege and incorporate by reference, as if more fully stated herein, the

   allegations in the Factual Allegations to all Counts and all prior Counts.

           93) Facebook and TikTok owed Mr. Winter a duty to take down any false abusive

   posts and/or any post containing personal identifying information of Mr. Winter for the

   purpose of stalking and harassment, including, but not limited to, plaintiffs address and

   phone number.

           94) Facebook and TikTok breached said duty AThen both companies refused to take

   down any false abusive posts and/or any posts contauiing personal identifying information of

   Mr. Winter for the purpose of stalking and harassinent, including, but not limited to,

   plaintiffs address and phone number.

           95) But for Facebook and TikTok's failure to take down the false abusive posts and/or

   posts containing plaintiffs personal identifying information for the purposes of stalking and

   harassment, Plaintiffs have suffered a significant loss of reputation, significant loss of

   income, has received death threats against him and his family, including Mr. Winter's seven-

   year-old son, and has suffered severe einotional distress.
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           96)Plaintiffs injuries were a foreseeable consequence of Facebook and TikTolc's

   refusal to take down the false abusive posts and/or posts containing plaintiffs personal

   identifying information for the pui-poses of stalking and harassment.

           97)As a direct and proximate cause of Facebook and TikTok's failure to take down

   the false abusive posts and/or posts containing plaintiffs personal identifying information for

   the purposes of stalking and harassment, plauitiffs sustained damages in an amount in excess

   of 500,000.00.

           98)Facebook and TikTok's actions were willful, wanton, malicious, and without

   regard for the rights of plaintiffs.

       WHERF,F®RF,, Plaintiffs, Elliot Winter and Alexandria Hurlburt, respectfully prays for

judgment against Defendants, Facebook, Inc. and TikTok, for an amount in excess of 25,000.00;

granting plaintiffs mandatory injunctive relief requiring Facebook and TikTok to take all actions

necessary to remove the harmful posts fiom the Internet and de-index any and all harmful posts

from Internet search engines; post judgment interest; costs for suit incurred herein, including but

not limited to, attomey's fees, court costs, process serving fees; and for such other and further

relief as this Court may deem just and proper under the circumstances.



                                                     Respectfully submitted,


                                                     HOWARD HAAKE, LLC




                                                     ~.~



                                             By:

                                                     Derelc R. Haake, #64301
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